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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   ADDE ISSAGHOLI,                           Case No. 2:19-cv-07616-MCS (KKx)
12                      Plaintiff,             ORDER GRANTING IN PART,
13                                             DENYING IN PART, AND
                  v.                           DEFERRING RULING IN PART ON
14
                                               DEFENDANT’S MOTIONS IN
15   MCLAREN AUTOMOTIVE, INC., et              LIMINE (ECF NOS. 37–41, 63)
     al.,
16
17                      Defendants.
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           Defendant McLaren Automotive, Inc. (“Defendant”) moves in limine to
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     (1) exclude Christineh Estepanian as a witness at trial, (MIL No. 1, ECF No. 37);
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     (2) exclude evidence or references to Defendant’s recall or open campaigns, (MIL No.
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     2, ECF No. 38); (3) exclude evidence or argument regarding Plaintiff Adde Issagholi’s
23
     (“Plaintiff”) personal expectations of the vehicle, (MIL No. 3, ECF No. 39); (4)
24
     exclude evidence or claims of certain damages to Plaintiff, (MIL No. 4, ECF Nos. 40
25
     and 63); and (5) exclude evidence or reference to McLaren Automotive, Inc.’s size,
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     wealth, or resources, (MIL No. 5, ECF No. 41). Plaintiff opposes the first, third, and
27
     fourth motions. (Opp’n to MIL No. 1, ECF No. 51; Opp’n to MIL No. 3, ECF No. 52;
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 1   Opp’n to MIL No. 4, ECF No. 64.) Plaintiff does not oppose the second and fifth
 2   motions in limine.
 3   I.    BACKGROUND
 4         Plaintiff brings claims under the Song–Beverly Consumer Warranty Act for
 5   breach of implied warranty of merchantability and breach of express warranty. Plaintiff
 6   claims that he leased a defective 2018 McLaren 720S (“Vehicle”) and Defendant failed
 7   to repair, replace, or buyback the vehicle. Pl.’s Mem. of Contentions of Fact & Law 2,
 8   ECF No. 42.
 9   II.   DISCUSSION
10         A.      Defendant’s Motion In Limine No. 1
11         Defendant seeks to exclude Christineh Estepanian (“Estepanian”) as a witness.
12   MIL No. 1. Estepanian is Plaintiff’s business partner and Plaintiff identified her in
13   discovery as a witness. Id. at 2. Defendant served Estepanian with a subpoena for her
14   deposition twice and she failed to attend the deposition. Id. at 2–4. On this basis,
15   Defendant seeks to exclude Estepanian as a witness.
16         Plaintiff does not oppose this motion because he does not plan “to call . . .
17   Estepanian” as a witness. Opp’n to MIL No. 1, at 2. Plaintiff only opposes excluding
18   Estepanian if “Defendant either cross–examines Plaintiff with respect to Ms. Estepanian
19   or otherwise treads into areas on cross–examination or in its case–in–chief which might
20   require her to corroborate or dispute certain facts.” Id.
21         Defendant does not state whether it plans to cross–examine Plaintiff about
22   Estepanian. The Court therefore defers ruling on this motion in limine. Parties can
23   present arguments during trial if the need arises.
24         B.      Defendant’s Motion In Limine No. 3
25         Defendant expects Plaintiff to “reference and/or to introduce evidence or
26   testimony regarding his personal expectations for the Vehicle and whether the Vehicle
27   met those expectations.” MIL No. 3, at 2. Defendant seeks to preclude evidence about
28   Plaintiff’s personal expectations because the probative value of such evidence is
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 1   outweighed by the danger of unfair prejudice and misleading the jury. Id. at 3–6.
 2           The Court DENIES this motion in limine because Defendant has not provided
 3   the Court with specific evidence that Defendant considers to be improper. Instead,
 4   Defendant can object at trial when it believes Plaintiff has provided improper testimony
 5   or evidence.
 6           C.     Defendant’s Motion in Limine No. 4
 7           Defendant seeks “to exclude evidence or claims of damages to Plaintiff” on the
 8   basis that “any damages incurred in connection with the Vehicle were actually incurred
 9   by Plaintiff’s business, not Plaintiff.” MIL No. 4, ECF No. 63, at 1, 2. Defendant first
10   argues that Plaintiff should be limited to claiming $10,400 in damages because he only
11   paid $9,500 when he signed the lease and $900 for a car cover while Plaintiff’s
12   corporation made the additional lease payments. Id. at 3–6. Defendant next argues that
13   “no evidentiary value should be given to Plaintiff’s declaration or similar testimony at
14   trial that he personally paid $9,500 for the down payment and $900 for a car cover.” Id.
15   at 8.
16           Plaintiff alleges that it is irrelevant who paid the lease for purposes of claiming
17   damages. See generally Opp’n, ECF No. 64. Plaintiff also alleges that the corporation
18   could not have made all of the lease payments because Plaintiff signed the lease in
19   September 2018 but created the corporation in October 2019. Id. at 10.
20           The Court denies this motion because it is an improper “disguised motion[] for
21   summary adjudication.” Order re: Jury/Court Trial 8. Defendant has also not identified
22   which evidence the Court would be excluding if the Court grants the motion to only
23   allow Plaintiff to allege $10,400 in damages. See MIL No. 4, at 3. Defendant
24   additionally wants the Court to exclude “Plaintiff’s declaration or similar testimony”
25   about his alleged $10,400 in damages because it contradicts his deposition testimony.
26   MIL No. 4, at 6–8. The jury, and not the Court, should determine whether Plaintiff’s
27   declaration or potential testimony contradicts his deposition.
28           ///
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 1           For the foregoing reasons, the Court DENIES Defendant’s fourth motion in
 2   limine. 1 Trial 8.
 3           D.    Defendant’s Motions in Limine Nos. 2 and 5
 4           Plaintiff does not oppose Defendant’s second and fifth motions in limine. The
 5   Court therefore GRANTS Plaintiff’s second and fifth motions in limine.
 6   III.    CONCLUSION
 7           The Court defers ruling on Defendant’s first motion in limine. The Court grants
 8   Defendant’s second and fifth motions in limine because Plaintiff does not oppose these
 9   motions. The Court denies Defendant’s third and fourth motions in limine.
10           Plaintiff shall not introduce or elicit evidence concerning:
11           •    Defendant’s recall or open campaigns; or
12           •    Defendant’s size, wealth, or resources.
13           Plaintiff shall caution, warn, and instruct their witnesses not to make any
14   references to any evidence excluded by this Order. All decisions on motions in limine
15   are subject to reevaluation at trial. See Fed. R. Evid. 103, advisory committee’s note to
16   2000 amendment (“Even where the court’s ruling is definitive, nothing . . . prohibits the
17   court from revisiting its decision when the evidence is to be offered.”); Luce v. United
18   States, 469 U.S. 38, 41–42 (1984) (“[E]ven if nothing unexpected happens at trial, the
19   district judge is free, in the exercise of sound judicial discretion, to alter a previous in
20   limine ruling.”).
21
22   IT IS SO ORDERED.
23
         Dated: May 17, 2021
24                                                    MARK C. SCARSI
25                                                    UNITED STATES DISTRICT JUDGE

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       The Court declines to consider Defendant’s reply, as the Court’s order precludes a
     party from filing a reply. Order re: Jury/Court Trial 8 (stating “there will be no
28   replies” filed for motions in limine).
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